            Case 1:17-cv-01174-CFL Document 93 Filed 04/01/20 Page 1 of 1




               In the United States Court of Federal Claims

                                          No. 17-1174 T
                                       Filed: April 1, 2020


ALI TAHA, on behalf of his
deceased brother and his
brother’s wife

       v.
                                                                                     JUDGMENT

UNITED STATES



       Pursuant to the court’s Opinion and Order, filed April 1, 2020,

        IT IS ORDERED AND ADJUDGED this date, pursuant to Rule 58, that plaintiffs’ 2003
tax claim is dismissed for lack of subject-matter jurisdiction. No costs.


                                                     Lisa L. Reyes
                                                     Clerk of Court

                                              By:

                                                     Deputy Clerk



NOTE: As to appeal to the United States Court of Appeals for the Federal Circuit, 60 days from
this date, see RCFC 58.1, re number of copies and listing of all plaintiffs. Filing fee is $505.00.
